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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

x Docket No. CV-14-5960(SLT)
VERONICA BROWN, Hon. Nina Gershon
Plaintiff, Declaration of Counsel
-against-
MARRIOTT INTERNATIONAL, INC.,
Defendant.
X

David L. Scher, an attorney duly licensed to practice law before the federal court of the
Eastern District of New York, declares the following to be true under the penalties of perjury:

1. [am a partner of Block O’Toole & Murphy, LLP, attorneys for Plaintiff VERONICA
BROWN and, as such, I am familiar with the facts and circumstances surrounding this matter based
on a review of the file maintained by my office.

De This Declaration is submitted in support of Plaintiffs opposition to Defendant
MARRIOTT INTERNATIONAL, INC.’s motion for summary judgment dated December 17, 2018.

3. On November 8, 2018, a Pre-Motion Conference was held before the Honorable Nina
Gershon. The transcript/minutes of the Pre-Motion Conference is annexed hereto as Exhibit “1”.

4. At the March 12, 2018 deposition of Plaintiff VERONICA BROWN, multiple
exhibits were marked. Complete color copies of all the exhibits marked at Plaintiff's March 12, 2018
deposition are annexed collectively hereto as Exhibit “2”.

5. At the May 30, 2018 deposition of Sonia Cunliffe, multiple exhibits were marked.
Color copies of the exhibits marked at Ms. Cunliffe’s May 30, 2018 deposition are annexed
collectively hereto as Exhibit “3”.

6. Plaintiff VERONICA BROWN opposes the Defendant’s instant motion for summary
judgment as, Plaintiff submits, Defendant fails to meet its burden and the evidence presents issues of

material fact precluding summary judgment dismissing Plaintiff's apparent authority action.
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i Plaintiff argues that Defendant’s Declaration of Counsel is both factually and legally
inaccurate in declaring that MII (a/k/a Marriott) is entitled to summary judgment “as there is no
evidence that MII [a/k/a Marriott] was responsible for the licensing or the day-to-day operations of
the [Marriott Chain] hotel” [which is identified as the St. Kitts Marriott Resort] and “plaintiff cannot
establish that MII [a/k/a Marriott]’s words or conduct gave the plaintiff the impression that MII [a/k/a
Marriott] controlled or was in all ways responsible for the resort” [which is identified as the St. Kitts

Marriott Resort and known as a ‘Marriott Hotel’ or called a ‘Marriott’].

Dated: January 11, 2019
Respectfully submitted,

BLOCK O’TOOLE &MURPHY, LLP
Attorneys ronica Brown

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